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                               UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON


KELLY CAHILL, et al.
                                                        Case No.: ________________________
                                                                  3:18-cv-01477-JR
                           Plaintiff(s),
                                                        MOTION FOR LEAVE TO APPEAR
 v.                                                     PRO HAC VICE

NIKE, INC.

                           Defendant(s).



        Attorney Lisa
                 _________________________________
                      Zycherman                    requests special admission pro hac
vice to the Bar of the United States District Court for the District of Oregon in the above-
captioned case for the purposes of representing the following party (or parties):
______________________________________________________________________________
Non-Party Media Organizations

        In support of this application, I certify that: 1) I am an active member in good standing
with the Maryland
         _____________ State Bar; and 2) that I have read and am familiar with the Federal
Rules of Evidence, the Federal Rules of Civil and Criminal Procedure, the Local Rules of this
Court, and this Court's Statement of Professionalism.
        I understand that my admission to the Bar of the United States District Court for the
District of Oregon is solely for the purpose of litigating in the above matter and will be
terminated upon the conclusion of the matter.

         (1)      PERSONAL DATA:
                  Name: Zycherman                   Lisa
                           (Last Name)              (First Name)                  (MI)          (Suffix)
                  Agency/firm affiliation: Reporters Committee for Freedom of the Press
                  Mailing address: 1156 15th St. NW, Suite 1020
                  City:Washington                                  State:DC
                                                                          ___________ Zip: 20005
                  Phone number:(202) 795-9300                      Fax number: (202) 795-9310
                  Business e-mail address: lzycherman@rcfp.org




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         (2)       BAR ADMISSION INFORMATION:
                   (a)     State bar admission(s), date(s) of admission, and bar number(s):
                           MD, admitted December 15, 2004, No. 0412150447
                           DC, admitted April 3, 2006, No. 495277
                   (b)     Other federal court admission(s) and date(s) of admission:
                           US; Circuits: DC (5/15/07), 2 (5/8/14), 4 (5/12/16), 5 (2/9/18), 6 (7/28/08),
                           7 (11/17/17), 8 (2/12/16), 11 (6/12/18); D. Md.(3/5/07), D.D.C.(8/7/06)

         (3)       CERTIFICATION OF DISCIPLINARY ACTIONS:
               ☐ I am not now, nor have I ever been, subject to any disciplinary action by any
               ✔
                 state or federal bar association or subject to judicial sanctions.

               ☐ I am now or have been subject to disciplinary action by a state or federal bar
                 association or subject to judicial sanctions. (Attach letter of explanation.)

         (4)       CERTIFICATION OF PROFESSIONAL LIABILITY INSURANCE:
                   Pursuant to LR 83-3, I have professional liability insurance, or financial
                   responsibility equivalent to liability insurance, that meets the insurance
                   requirements of the Oregon State Bar for attorneys practicing in this District,
                   and that will apply and remain in force for the duration of the case, including
                   any appeal proceedings.

         (5)       CM/ECF REGISTRATION:
                   I acknowledge that I will become a registered user of the Court's case
                   management and electronic case filing system (CM/ECF) upon approval of this
                   application, and I consent to electronic service pursuant to Fed. R. Civ. P.
                   5(b)(2)(E) and the Local Rules of the District of Oregon.

Certification of Attorney Seeking Pro Hac Vice Admission: I have read and understand the
requirements of LR 83-3, and I certify that the above information is true and correct.


        DATED: December 15, 2022




                                                          (Signature)




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REQUIREMENT TO ASSOCIATE WITH LOCAL COUNSEL:

LR 83-3(a)(1) requires applicants for pro hac vice admission to associate with local counsel,
unless requesting a waiver of the requirement under LR 45-1.

To request a waiver of the requirement to associate with local counsel under LR 45-1, check the
following box:

    ☐ I seek admission for the limited purpose of filing a motion related to a subpoena that this
      Court did not issue. Pursuant to LR 45-1(b), I request a waiver of the LR 83-3(a)(1)
      requirement to associate with local counsel and therefore do not include a certification
      from local counsel with this application.

To associate with local counsel, provide the following information about local counsel, and
obtain the signature of local counsel.

Name: VOLPERT                             Timothy                              R.
                        (Last Name)            (First Name)                     (MI)            (Suffix)
OSB number: 814074

Agency/firm affiliation: Tim Volpert PC

Mailing address: 3934 SE Hawthorne Blvd. Suite 343

City:Portland                                   State: Oregon      Zip:                     97214

Phone number:503 703 9054                       Fax number:

Business e-mail address: tim@timvolpertlaw.com

CERTIFICATION OF ASSOCIATE LOCAL COUNSEL:

I certify that I am a member in good standing of the bar of this Court, that I have read and
understand the requirements of LR 83-3, and that I will serve as designated local counsel in case
number 3:18-cv-0147-JR________ .

          December 16, 2022
DATED:                                         .



                                               (Signature of Local Counsel)




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